Case 18-34808-SLM               Doc 1032        Filed 09/04/20 Entered 09/04/20 17:14:10                              Desc Main
                                               Document     Page 1 of 5



 LOWENSTEIN SANDLER LLP
 Kenneth A. Rosen, Esq.
 Joseph J. DiPasquale, Esq.
 Eric S. Chafetz, Esq.                                                                  Order Filed on September 4, 2020
                                                                                        by Clerk,
 Michael Papandrea, Esq.                                                                U.S. Bankruptcy Court
 John P. Schneider, Esq.                                                                District of New Jersey
 One Lowenstein Drive
 Roseland, New Jersey 07068
 (973) 597-2500 (Telephone)
 (973) 597-2400 (Facsimile)

 Counsel to the Administrative and
 Priority Claims Agent

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                           Chapter 11

 FRANK THEATRES BAYONNE/SOUTH                                     Case No. 18-34808 (SLM)
 COVE, LLC, et al.,1, 2

                              Debtors.                            Jointly Administered


          STIPULATION AND CONSENT ORDER (I) RESOLVING CLAIM NO. 329,
                AND DISALLOWING CLAIM NOS. 64, 65, 310, 326 AND 327
           FILED BY FRANK INVESTMENTS, INC., A FLORIDA CORPORATION,
            AND (II) DISALLOWING CLAIM NOS. 63, 325, 328 AND 330 FILED BY
              FRANK INVESTMENTS, INC., A NEW JERSEY CORPORATION

 DATED: September 4, 2020


 1  Prior to the Effective Date (as defined herein) of the Modified Plan (as defined herein), the Debtors in these Chapter 11 cases
 (the “Chapter 11 Cases”) and the last four digits of each Debtor’s taxpayer identification number were as follows: Frank
 Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank Management LLC (0186); Frank
 Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres Blacksburg LLC (2964); Frank Theatres Delray,
 LLC (7655); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres Parkside
 Town Commons LLC (9724); Frank Theatres Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC
 (7779); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475);
 Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank
 Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570);
 Frank Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).
 2Upon the Effective Date of the Modified Plan (as defined herein), the presently operating Reorganized Debtors are as follows:
 Frank Entertainment Group, LLC; Frank Management, LLC; Frank Theatres York, LLC; Frank Hospitality York, LLC; Frank
 Theatres Delray, LLC; Frank Theatres Parkside Town Commons, LLC; Frank Blacksburg, LLC; Frank Theatres Southern Pines,
 LLC; Frank Theatres, LLC; and Frank Management, LLC.


 {2230/000/00503785}
Case 18-34808-SLM           Doc 1032     Filed 09/04/20 Entered 09/04/20 17:14:10                     Desc Main
                                        Document     Page 2 of 5



         The relief set forth on the following pages, numbered two (2) through five (5), is hereby

 ORDERED.

         THIS MATTER comes before the United States Bankruptcy Court for the District of

 New Jersey (the “Court”) upon the objection of Moss Adams LLP (the “Administrative and

 Priority Claims Agent”) to proof of claim nos. 64, 65, 310, 326, 327 and 329 (“Claim No.

 329”) filed by Frank Investments, Inc., a Florida corporation ("FI Florida"), and proof of claim

 nos. 63, 325, 328 and 330 filed by Frank Investments, Inc., a New Jersey corporation ("FI New

 Jersey") (and together with FI Florida, the Liquidating Trustee and the Administrative and

 Priority Claims Agent, the “Parties”); and the Court having jurisdiction to consider this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper before the Court pursuant to 28

 U.S.C. §§ 1408 and 1409; and consideration of this matter being a core proceeding pursuant to

 28 U.S.C. § 157(b); and it appearing that proper and adequate notice of the dispute has been

 given and that no other or further notice is necessary; and upon the record herein and the

 agreement of the Administrative and Priority Claims Agent, FI Florida and FI New Jersey, and

 the Liquidating Trustee, the Court having determined that the relief provided for herein is in the

 best interests of the Debtors, their estates, and creditors; and after due deliberation and good and

 sufficient cause appearing therefor;3

         IT IS HEREBY ORDERED THAT:

         1.       Claim No. 329 filed by the FI Florida is hereby reduced and deemed allowed as

 an Administrative Expense Claim against the estate of Frank Theatres Montgomeryville, LLC in

 the amount of $5,000.00 (the “Allowed Claim”).


 3
   Unless otherwise defined, all capitalized terms herein shall have the meaning ascribed to them in the Modified
 First Amended Plan of Reorganization of Frank Theatres Bayonne/South Cove, LLC, et al., Pursuant to Chapter 11
 of the Bankruptcy Code as confirmed by an Order of the Court entered on October 29, 2019 (the “Modified Plan”)
 [Docket No. 783].

 {2230/000/00503785}
Case 18-34808-SLM       Doc 1032     Filed 09/04/20 Entered 09/04/20 17:14:10             Desc Main
                                    Document     Page 3 of 5



         2.     Notwithstanding the treatment of the Allowed Claim in the Debtors’ Modified

 Plan, the Allowed Claim shall be paid within ten (10) business days of this Court’s approval and

 entry of this Stipulation and Consent Order.

         3.     Proof of claim nos. 64, 65, 310, 326 and 327 filed by FI Florida, and proof of

 claim nos. 63, 325, 328 and 330 filed by FI New Jersey, are hereby deemed disallowed in their

 entirety.

         4.     FI Florida and FI New Jersey agree that they will not file or assert any additional

 claims (as this term is defined in Bankruptcy Code § 101(5)) against any of the Debtors in these

 Chapter 11 Cases. Excluding the Allowed Claim, any other claim (as this term is defined in

 Bankruptcy Code § 101(5)) filed or asserted by FI Florida or FI New Jersey against any of the

 Debtors in these Chapter 11 Cases is hereby automatically expunged without any further action

 necessary.

         5.     The Debtors in these Chapter 11 Cases, the Administrative and Priority Claims

 Agent, the Liquidating Trust and the Liquidating Trustee (together, the "New Jersey Parties")

 agree that they will not file or assert any claims (as this term is defined in Bankruptcy Code §

 101(5)) against either FI Florida or FI New Jersey, including the filing or assertion of any claims

 (as this term is defined in Bankruptcy Code § 101(5)) in the bankruptcy case of FI Florida, Case

 No. 19-11454-EPK or the bankruptcy case of FI New Jersey, Case No. 18-20019-EPK, which

 cases are pending in the United States Bankruptcy Court for the Southern District of Florida

 (together, the "Florida Cases"). Any claims (as this term is defined in Bankruptcy Code §

 101(5)) filed or asserted by the New Jersey Parties against either FI Florida or FI New Jersey in

 the Florida Cases is hereby automatically expunged without any further action necessary




 {2230/000/00503785}
Case 18-34808-SLM          Doc 1032    Filed 09/04/20 Entered 09/04/20 17:14:10           Desc Main
                                      Document     Page 4 of 5



        6.      The Administrative and Priority Claims Agent, the Debtors, the Debtors’ claims

 and noticing agent, Prime Clerk LLC, and the Clerk of this Court are each authorized to take any

 and all actions that are necessary or appropriate to give effect to this Stipulation and Consent

 Order, including reducing the amount of Claim No. 329 as set forth in paragraph 1 of this

 Stipulation and Consent Order.

        7.      This Stipulation and Consent Order are contingent on FI Florida and FI New

 Jersey obtaining approval of the terms thereof in the Florida Cases under Fed. R. Bankr. P. 9019

 and applicable law. As of the date hereof, such approval has been obtained.

        8.      The terms set forth in this Stipulation and Consent Order are the entire agreement

 between the Parties and may only be modified in a writing signed by the Parties.

        9.      THE PARTIES EXPRESSLY WAIVE ANY RIGHT TO A TRIAL BY JURY

 OF ANY DISPUTE ARISING UNDER, OR RELATING TO, THE SETTLEMENT SET

 FORTH IN THIS STIPULATION AND CONSENT ORDER.

        10.     This Stipulation and Consent Order shall be binding upon the Parties hereto and

 any of their successors, representatives, and/or assigns.

        11.     This Stipulation and Consent Order may be executed in counterparts and all

 executed counterparts taken together shall constitute one document.

        12.     This Stipulation and Consent Order has been drafted through a joint effort of the

 Parties and, therefore, shall not be construed in favor of or against any of the Parties. The terms

 of this Stipulation and Consent Order shall be deemed to have been jointly negotiated and

 drafted by the Parties.




 {2230/000/00503785}
Case 18-34808-SLM       Doc 1032      Filed 09/04/20 Entered 09/04/20 17:14:10        Desc Main
                                     Document     Page 5 of 5



        13.     Notwithstanding the applicability of any of the Federal Rules of Bankruptcy

 Procedure, the terms and conditions of this Stipulation and Consent Order shall be immediately

 effective and enforceable upon its entry.

 Dated: September 2, 2020

 STIPULATED AND AGREED:

 LOWENSTEIN SANDLER LLP                          SCHRAIBERG, LANDAU & PAGE P.A.



 By: /s/Eric Chafetz                             By: /s/ Patrick Dorsey
 Eric S. Chafetz, Esq.                           Patrick Dorsey
 One Lowenstein Drive                            2385 N.W. Executive Center Dr.
 Roseland, New Jersey 07068                      Suite 300
 Telephone: (973) 597-2500                       Boca Raton, Florida 33431
 Facsimile: (973) 597-2400                       Telephone: (561) 443-0800
 E-mail: echafetz@lowenstein.com                 E-mail: pdorsey@slp.law

 Counsel to the Administrative and               Counsel to Frank Investments, Inc.
 Priority Claims Agent




 {2230/000/00503785}
